 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v. CASE NO. 8:21-cr-
EDWARD CHRISTOPHER
WHITE, JR.

PLEA AGREE

Pursuant to Fed. R. Crim. P. 11(0), the United States of America, by Karin
Hoppmann, Acting United States Attorney for the Middle District of Florida, and
the defendant, EDWARD CHRISTOPHER WHITE, JR, and the attorneys for the
defendant, Jason Mehta, Esq., and Lee Bentley, Esq., mutually agree as follows:

A. — Particularized Terms

1.  Count(s) Pleading To

The defendant shall enter a plea of guilty to Count One and Count Two of the
Superseding Information. Count One charges the defendant with conspiracy to
defraud the United States and pay and receive kickbacks, in violation of 18 U.S.C. §
371. Count Two charges the defendant with the receipt of kickbacks, in violation of .
42, U.S.C. § 1320a-7b(b)(1).

2. Maximum Penalties

Count One carries a statutory maximum term of imprisonment of five years, a

fine of not more than $250,000, or twice the gross gain caused by the offense, or

Defendant's Initials Z& AF Approval | \. S for Wi.
 

twice the gross loss caused by the offense, whichever is greater, a term of supervised
release of not more than three years, and special assessment of $100 per felony count,

Count Two carnies a statutory maximum term of imprisonment of five years, a
fine of not more than $250,000, or twice the gross gain caused by the offense, or
twice the gross loss caused by the offense, whichever is greater, a term of supervised
release of not more than three years, and special assessment of $100 per felony count.

3. Elements of the Offense(s)

The defendant acknowledges understanding the nature and elements of the
offense(s) with which defendant has been charged and to which defendant is
pleading guilty.

The elements of Count One are:

First: two or more people in some way agreed to try to
accomplish a shared and unlawful plan;

Second: the Defendant knew the unlawful purpose.of the plan and
willfully joined in it;

‘Third: during the conspiracy, one of the conspirators knowingly
engaged in at last one overt act described in the
Superseding Information; and

Fourth: the overt act was knowingly committed at or about the
time alleged in the Superseding Information and with the
purpose of carrying out or accomplishing some object of

the conspiracy.
The elements of Count Two are:
First: the Defendant asked for or received remuneration directly

or indirectly, openly or secretly, in cash or in kind;

Second: the payment asked for or received was in return for:

Defendant's Initials EY __ 2

?
 

a. referring an individual to a person for the furnishing or
arranging for the furnishing of an item or service that
could be paid for, in whole or in part, by a Federal
health care program; or

b. Purchasing, leasing, ordering, or arranging foror _
recommending purchasing, leasing, or ordering, any
good, facility, service, or item that could be paid for, in
whole or in part, by a Federal health care program; and

Third: the Defendant did so knowingly and willfully.

4, dictment Waiver

Defendant will waive the right to be charged by way of indictment before a
federal grand jury.

3. No Further Charges

If the Court accepts this plea agreement, the United States Attorney’s Office
for the Middle District of Florida and the Fraud Section, Criminal Division of the
United States Department of Justice (the “Fraud Section”) (the United States
Attorney’s Office for the Middle District of Florida and the Fraud Section referred to
herein collectively as the “United States”) not to charge defendant with committing
any other federal criminal offenses known to the Fraud Section or the United States
Attorney’s Office at the time of the execution of this agreement, related to the

conduct giving rise to this plea agreement.

6. Exclusion from a Federal Health Care Program
The defendant understands and acknowledges that as a result of this plea, the

defendant will be excluded from Medicare, Medicaid, and all Federal health care

Defendant's Initials 3

 
 

programs, The defendant agrees to complete and execute all necessary documents
provided by and department or agency of the federal government, including but not
limited to the United States Department of Health and Human Services to effectuate
this exclusion within 60 days of receiving the documents. This exclusion will not
affect defendant’s right to apply for and receive benefits as a beneficiary under any
Federal health care program, including Medicare and Medicaid.

7. cc ce of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse information is
received suggesting such a recommendation to be unwarranted, the United States
will recommend to the Court that the defendant receive a two-level downward
adjustment for acceptance of responsibility, pursuant to USSG § 3E1.1(a). The
defendant understands that this recommendation or request is not binding on the
Court, and if not accepted by the Court, the defendant will not be allowed to
withdraw from the plea.

Further, at the time of sentencing, if the defendant’s offense level prior to
operation of subsection (a) is level 16 or greater, and if the defendant complies with
the provisions of USSG § 3E1.1(b) and all terms of this Plea Agreement, including
but not limited to, the timely submission of the financial affidavit referenced in
Paragraph B.4., the United States agrees to file a motion pursuant to USSG §
3E1.1(b) for a downward adjustment of one additional level. The defendant
understands that the determination as to whether the defendant has qualified for a

downward adjustment of a third level for acceptance of responsibility rests solely

Defendant's Initials HZ? _ 4

 
 

with the United States Attorney’s Office for the Middle District of Florida and the
Fraud Section, and the defendant agrees that the defendant cannot and will not
challenge that determination, whether by appeal, collateral attack, or otherwise.

8. Mandatory restitution to Victim of Offense of Conviction

Pursuant to 18 U.S.C. § § 3663A(a) and (b), defendant agrees to make full
restitution to the U.S. Department of Health and Human Services. The parties agree

that the amount of restitution owed is $53,699,934.

9. Adjusted Offense Level — Recommendation
Pursuant to Fed, R. Crim. P. 11(c)(1)(B), the United States and the defendant

agree to recommend that the defendant’s adjusted offense level be set at 30, as

 

 

 

 

 

determined below:
Base Offense Level 2B4,1 8
Improper Benefit 2B1.1 22
Conferred ($53 million)
Leader/Organizer 3B1.1 3
Acceptance of 3E1.1 3
Responsibility
Total Anticipated 30
Offense Level

 

 

 

 

 

The defendant understands that this recommendation is not binding on the
court or the United States, and if not accepted by the Court, the defendant will not
be allowed to withdraw from the plea.

10. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the investigation

and prosecution of other persons, and to testify, subject to a prosecution for perjury

Defendant’s Initials CZ“ 5

 
 

or making a false statement, fully and truthfully before any federal court proceeding
or federal grand jury in connection with the charges in this case and other matters,
such cooperation to further include a full and complete disclosure of all relevant
information, including production of any and all books, papers, documents, and
other objects in defendant's possession or control, and to be reasonably available for
interviews which the United States may require. If the cooperation is completed
prior to sentencing, the government agrees to consider whether such cooperation

qualifies as “substantial assistance” in accordance with the policy of the Fraud
Section and the United States Attorney’s Office for the Middle District of Florida,
warranting the filing of a motion at the time of sentencing recommending (1) a
downward departure from the applicable guideline range pursuant to USSG § 5K1.1,
or (2) the imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(e), or (3) both. If the cooperation is completed subsequent to
sentencing, the government agrees to consider whether such cooperation qualifies as
“substantial assistance” in accordance with the policy of the Fraud Section and the
United States Attorney’s Office for the Middle District of Florida, warranting the
filing of a motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant understands
that the determination as to whether “substantial assistance” has been provided or
what type of motion related thereto will be filed, if any, rests solely with the Fraud
Section and the United States Attorney’s Office for the Middle District of Florida,

and the defendant agrees that defendant cannot and will not challenge that

Defendant’s Initials ZZ 6

 

 
 

determination, whether by appeal, collateral attack, or otherwise. The parties agree
that the Fraud Section will be responsible for filing any motion for a reduction of
sentence that might be made in this case.

11. Use of Information - Section 1B1.8
Pursuant to USSG § 1B1.8(a), the United States agrees that no self-
incriminating information which the defendant may provide during the course of

defendant’s cooperation and pursuant to this agreement shall be used in determining

the applicable sentencing guideline range, subject to the restrictions and limitations
set forth in USSG § 1B1.8(b).
12. Cooperation - Responsibilities of Parties

a. The United States will make known to the Court and other
relevant authorities the nature and extent of defendant’s cooperation and any
other mitigating circumstances indicative of the defendant’s rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,
the defendant understands that the United States can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the defendant knowingly provide
incomplete or untruthful testimony, statements, or information pursuant to
this agreement, or should the defendant falsely implicate or incriminate any
person, or should the defendant fail to voluntarily and unreservedly disclose

and provide full, complete, truthful, and honest knowledge, information, and

Defendant’s Initials Cv 7
 

cooperation regarding any of the matters noted herein, the following
conditions shall apply:

(1) The defendant may be prosecuted for any perjury or false
declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for the

charges which are to be dismissed pursuant to this agreement, if any,

and may either seek reinstatement of or refile such charges and
prosecute the defendant thereon in the event such charges have been
dismissed pursuant to this agreement. With regard to such charges, if
any, which have been dismissed, the defendant, being fully aware of the
nature of all such charges now pending in the instant case, and being
further aware of defendant's tights, as to all felony charges pending in
such cases (those offenses punishable by imprisonment for a term of
over one year), to not be held to answer to said felony charges unless on
a presentment or indictment of a grand jury, and further being aware
that all such felony charges in the instant case have heretofore properly
been returned by the indictment of a grand jury, does hereby agree to
reinstatement of such charges by recission of any order dismissing them
or, alternatively, does hereby waive, in open court, prosecution by
indictment and consents that the United States may proceed by

information instead of by indictment with regard to any felony charges

Defendant's Initials Cee? _ 8

 
 

which may be dismissed in the instant case, pursuant to this plea
agreement, and the defendant further agrees to waive the statute of
limitations and any speedy trial claims on such charges.

(3) The United States may prosecute the defendant for any
offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the
defendant agrees to waive the statute of limitations and any speedy trial
claims as to any such offenses.

(4) The government may use against the defendant the
defendant’s own admissions and statements and the information and
books, papers, documents, and objects that the defendant has furnished.
in the course of the defendant’s cooperation with the government.

(5) The defendant will not be permitted to withdraw the guilty
pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the
sentencing limitations, if any, set forth in this plea agreement, with
regard to those counts to which the defendant has pled; or in the
alternative, at the option of the United States, the United States may
move the Court to declare this entire plea agreement null and void.

13. Forfeiture of Assets
The defendant agrees to forfeit to the United States immediately and

voluntarily any and all assets and property, or portions thereof, subject to forfeiture,

Defendant’s Initials 4 __ 9
pursuant to 18 U.S.C. § 982(a)(7), whether in the possession or control of the United
States, the defendant or defendant’s nominees.

The assets to be forfeited specifically include, but are not limited to, the sum of
at least $33,321,712 in proceeds the defendant admits he obtained as the result of the
commission of the offenses charged in Count One and Count Two, to which the
defendant is pleading guilty.

The assets to be forfeited specifically include, but are not limited to, the
following:

1. Real property located at 22020 Front Beach Rd, Unit 2, Panama
City Beach, Florida 32413;

2.° Real property located at 3232 Magnolia Islands Blvd, Panama City
Beach, Florida 32408;

3. 1985 Cessna Citation SII $550 aircraft, S/N $550-0111, Tail
Number N17LP; |

4, 2018 Range Rover, VIN SALWZ2SE4JA184013;

5. 2019 Mercedes-Benz Sprinter Van, VIN
WDAPF1CDXKP051312;

6. $5,312.95 seized from Centennial Bank account number
503081134, held in the name of White Hewitt-Air Corp;

7. $124,280.34 seized from Centennial Bank account number
503088255, held in the name of Christopher White and Brian
Moore;

8. $1,197.00 seized from Centennial Bank account number
503182370, held in the name of D.A.R.C. LLC dba D.A.R.C.
Enterprises;

9. $1,910.42 seized from Centennial Bank account number
503182119, held in the name of White Medical LLC;

Defendant’s Initials C4 10

 
10. $9,742.69 seized from Centennial Bank account number
503182905, held in the name of White Oil & Gas LLC;

11. $902.81 seized from Centennial Bank account number 503182348,
held in the name of Whitewater Consulting LLC;

12. $603,818.00 seized from Regions Bank account number
0263433532, held in the name of The Edward Christopher White,
Jr. Family Protection Trust; and

13. $580,255.00 seized form Pinnacle Bank account number

800105121305, held in the name of The Edward Christopher
White, Jr. Family Protection Trust.

which assets represent or were funded by proceeds of the offense or offenses to which
the defendant is to plead guilty.

The defendant consents to the filing of a motion by the United States for
immediate entry of an order of forfeiture of proceeds and preliminary order of
forfeiture of specific assets. The net proceeds from the forfeiture and sale of any
specific asset(s) will be credited to and reduce the amount the United States shall be
entitled to forfeit as substitute assets pursuant to 21 U.S.C. § 853(p).

The defendant acknowledges and agrees that: (1) the defendant obtained at
least $33,321,712 as a result of the commission of the offenses, and (2) as a result of
the acts and omissions of the defendant, the proceeds not recovered by the United
States through the forfeiture of the directly traceable assets listed herein have been
transferred to third parties and cannot be located by the United States upon the
exercise of due diligence. Therefore, the defendant agrees that, pursuant to 21

U.S.C. § 853(p), the United States is entitled to forfeit any other property of the

Defendant's Initials CZ __ 11

 
defendant (substitute assets), up to the amount of proceeds the defendant obtained,
as the result of the offenses of conviction. The defendant further consents to, and
agrees not to oppose, any motion for substitute assets filed by the United States up to
the amount of proceeds obtained from commission of the offenses and consents to
the entry of the forfeiture order into the Treasury Offset Program.

The defendant additionally agrees that since the criminal proceeds have been
transferred to third parties and cannot be located by the United States ‘upon the
exercise of due diligence, the preliminary and final orders of forfeiture should
authorize the United States Attorney’s Office for the Middle District of Florida to
conduct discovery (including depositions, interrogatories, requests for production of
documents, and the issuance of subpoenas), pursuant to Rule 32.2(b)(3) of the
Federal Rules of Criminal Procedure, to help identify, locate, and forfeit substitute
assets.

The defendant agrees and consents to the forfeiture of these assets pursuant to
any federal criminal, civil, judicial or administrative forfeiture action. The defendant
also agrees to waive all constitutional, statutory and procedural challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in
accordance with this Plea Agreement on any grounds, including that the forfeiture
described herein constitutes an excessive fine, was not properly noticed in the
charging instrument, addressed by the Court at the time of the guilty plea,

announced at sentencing, or incorporated into the judgment.

Defendant’s Initials @_ 12

 
The defendant admits and agrees that the conduct described in the Factual
Basis below provides a sufficient factual and statutory basis for the forfeiture of the
property sought by the government. Pursuant to Rule 32.2(b)(4), the defendant
agrees that the preliminary order of forfeiture will satisfy the notice requirement and
will be final as to the defendant at the time it is entered. In the event the forfeiture is
omitted from the judgment, the defendant agrees that the forfeiture order may be
incorporated into the written judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and locate all
property subject to forfeiture Gincluding substitute assets) and to transfer custody of
such assets to the United States before the defendant’s sentencing. To that end, the
defendant agrees to make a full and complete disclosure of all assets over which
defendant exercises control, including all assets held by nominees, to execute any
documents requested by the United States to obtain from any other parties by lawful

‘means any records of assets owned by the defendant, and to consent to the release of
the defendant’s tax returns for the previous five years. The defendant agrees to be

interviewed by the government, prior to and after sentencing, regarding such assets

and their connection to criminal conduct. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United States.
The defendant agrees that Federal Rule of Criminal Procedure 11 and USSG § 1B1.8
will not protect from forfeiture assets disclosed by the defendant as part of the

defendant’s cooperation.

Defendant’s Initials 13

 

 
The defendant agrees to take all steps necessary to assist the government in
obtaining clear title to any substitute assets before the defendant’s sentencing. In
addition to providing full and complete information about substitute assets, these
steps include, but are not limited to, the surrender of title, the signing of a consent
decree of forfeiture, and signing of any other documents necessary to effectuate such
transfers.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the Plea Agreement, the defendant may be
found ineligible for a reduction in the Guidelines calculation for acceptance of
responsibility and substantial assistance and may be eligible for an obstruction of
justice enhancement.

Forfeiture of the defendant's assets shall not be treated as satisfaction of any
fine, restitution, cost of imprisonment, or any other penalty the Court may impose
upon the defendant in addition to forfeiture.

The defendant agrees that the forfeiture provisions of this plea agreement are

intended to, and will, survive the defendant, notwithstanding the abatement of any
underlying criminal conviction after the execution of this agreement. The
forfeitability of any particular property pursuant to this agreement shall be
determined as if the defendant had survived, and that determination shall be binding
upon defendant’s heirs, successors and assigns until the agreed forfeiture, including

the forfeiture of any substitute assets, is final.

Defendant’s Initials Ce 14

 
EB. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to or in lieu
of any other penalty, shall order the defendant to make restitution to any victim of
the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses described in 18 U.S.C.
§ 3663A(c)(1); and the Court may order the defendant to make restitution to any
victim of the offense(s), pursuant to 18 U.S.C. § 3663, including restitution as to all
counts charged, whether or not the defendant enters a plea of guilty to such counts,
and whether or not such counts are dismissed pursuant to this agreement. The
defendant further understands that compliance with any restitution payment plan
imposed by the Court in no way precludes the United States from simultaneously
pursuing other statutory remedies for collecting restitution (18 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the Mandatory
Victims Restitution Act, in order to ensure that the defendant’s restitution obligation
is satisfied.

On each count to which a plea of guilty is entered, the Court shall impose a

special assessment pursuant to 18 U.S.C. § 3013, The special assessment is due on
the date of sentencing.

The defendant understands that this agreement imposes no limitation as to

Defendant’s Initials “ee __ 15

 
2. Supervised Release
The defendant understands that the offense(s) to which the defendant is

pleading provide(s) for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release, the
defendant would be subject to a further term of imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon conviction, a
defendant who is not a United States citizen may be removed from the United States,
denied citizenship, and denied admission to the United States in the future.

4, Sentencing Information

The United States reserves its right and obligation to report to the Court and
the United States Probation Office all information concerning the background,
character, and conduct of the defendant, to provide relevant factual information,
including the totality of the defendant’s criminal activities, if any, not limited to the
count(s) to which defendant pleads, to respond to comments made by the defendant
or defendant’s counsel, and to correct any misstatements or inaccuracies. The
United States further reserves its right to make any recommendations it deems
appropriate regarding the disposition of this case, subject to any limitations set forth
herein, if any.

5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(ii), the

defendant agrees to complete and submit to the United States Attorney’s Office and

Defendant’s Initials e~_ 16

 
the Fraud Section within 30 days of execution of this agreement an affidavit
reflecting the defendant’s financial condition. The defendant promises that his/ her
financial statement and disclosures will be complete, accurate and truthful and will
include all assets in which he/she has any interest or over which the defendant
exercises control, directly or indirectly, including those held by a spouse, dependent,
nominee or other third party. The defendant further agrees to execute any
documents requested by the United States needed to obtain from any third parties
any records of assets owned by the defendant, directly or through a nominee, and, by
the execution of this Plea Agreement, consents to the release of the defendant’s tax
returns for the previous five years. The defendant similarly agrees and authorizes the
United States Attorney’s Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant’s federal, state, and
local tax returns, bank records and any other financial information concerning the
defendant, for the purpose of making any recommendations to the Court and for
collecting any assessments, fines, restitution, or forfeiture ordered by the Court. The

defendant expressly authorizes the United States Attorney’s Office to obtain current

credit reports in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court.

6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor bound by
this agreement. The Court may accept or reject the agreement, or defer a decision,

until it has had an opportunity to consider the presentence report prepared by the

Defendant’s Initials by 17

 
United States Probation Office. The defendant understands and acknowledges that,
although the parties are permitted to make recommendations and present arguments
to the Court, the sentence will be determined solely by the Court, with the assistance
of the United States Probation Office. Defendant further understands and
acknowledges that any discussions between defendant or defendant’s attorney and
the attorney or other agents for the government regarding any recommendations by
the government are not binding on the Court and that, should any recommendations
be rejected, defendant will not be permitted to withdraw defendant's plea pursuant to
this plea agreement. The government expressly reserves the right to support and
defend any decision that the Court may make with regard to the defendant’s
sentence, whether or not such decision is consistent with the government’s
recommendations contained herein.

7.  Defendant’s Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority to impose
any sentence up to the statutory maximum and expressly waives the right to appeal

defendant’s sentence on any ground, including the ground that the Court erred in

determining the applicable guidelines range pursuant to the United States Sentencing
Guidelines, except (a) the ground that the sentence exceeds the defendant's
applicable guidelines range as determined by the Court pursuant to the United States
Sentencing Guidelines; (b) the ground that the sentence exceeds the statutory
maximum penalty; or (c) the ground that the sentence violates the Eighth

Amendment to the Constitution; provided, however, that if the government exercises

Defendant's Initials 18

 
its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then
the defendant is released from his waiver and may appeal the sentence as authorized
by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the Office of the
United States Attorney for the Middle District of Florida and the Fraud Section, and
cannot bind other federal, state, or local prosecuting authorities, although the Office
of the United States Attorney for the Middle District of Florida and the Fraud
Section will bring defendant’s cooperation, if any, to the attention of other
prosecuting officers or others, if requested.

9. ilin ee

This agreement shall be presented to the Court, in open court or in camera, in
whole or in part, upon a showing of good cause, and filed in this cause, at the time of
defendant’s entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this agreement
and is pleading guilty freely and voluntarily without reliance upon any discussions
between the attorney for the government and the defendant and defendant's attorney
and without promise of benefit of any kind (other than the concessions contained
herein), and without threats, force, intimidation, or coercion of any kind. The
defendant further acknowledges defendant’s understanding of the nature of the

offense or offenses to which defendant is pleading guilty and the elements thereof,

Defendant's Initials <@_ 19

 
including the penalties provided by law, and defendant’s complete satisfaction with
the representation and advice received from defendant’s undersigned counsel (if
any). The defendant also understands that defendant has the right to plead not guilty
or to persist in that plea if it has already been made, and that defendant has the right
to be tried by a jury with the assistance of counsel, the right to confront and cross-
examine the witnesses against defendant, the right against compulsory self-
incrimination, and the right to compulsory process for the attendance of witnesses to
testify in defendant’s defense; but, by pleading guilty, defendant waives or gives up
those rights and there will be no trial. The defendant further understands that if
defendant pleads guilty, the Court may ask defendant questions about the offense or
offenses to which defendant pleaded, and if defendant answers those questions under
oath, on the record, and in the presence of counsel (if any), defendant’s answers may
later be used against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the offenses
to which defendant has pleaded and, if any of such offenses are felonies, may thereby

be deprived of certain rights, such as the right to vote, to hold public office, to serve

on a jury, or to have possession of firearms.

11, Factual Basis

Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth in the

-attached “Factual Basis,” which is incorporated herein by reference, are true, and

Defendant's Initials << 20

 

 
were this case to go to trial, the United States would be able to prove those specific
facts and others beyond a reasonable doubt. .
ACTS

The United States and the defendant stipulate to the following facts:

Florida Pharmacy Solutions, LLC (“FPS”), was a Florida corporation
owned by co-defendant JAMES WESLEY MOSS (“MOSS”). Co-defendant
DAVID BYRON COPELAND (“COPELAND”) was a co-owner of FPS for
atime. FPS was a compounding pharmacy with principal places of business
in Dade City and Zephyrhills, Pasco County, Florida. MOSS served in
various Management positions of FPS including as President, Chief Executive
Officer, and Director. MOSS maintained signature authority on FPS bank
accounts at Bank of America, account number ending in 8718; and at Wells

Fargo Bank, account number ending in 6675.

Mediverse, LLC (“Mediverse”) was a Florida Limited Liability
Company owned and controlled by co-defendant EDWARD

CHRISTOPHER WHITE (“WHITE”), who operated Mediverse as a
pharmacy consulting and marketing fim. WHITE performed various

consulting and sales marketing services for FPS through Mediverse. Helix
Management Solutions, LLC (“Helix”) was a Florida Limited Liability ,
Company owned and controlled by MOSS and WHITE that performed

various medical billing services and marketing services. TDSNOLEI, LLC

Defendant's Initials “<< 21

 

 
(“TDSNOLEI”), was a Florida Limited Liability Company controlled by
COPELAND that provided certain sales and marketing services for FPS.
I. Compound Medications and TRICARE Scheme

On or about October 21, 2014, MOSS signed a contract with co-defendant
MICHAEL ALTON GORDON (“GORDON”) whereby GORDON became a
Service Consultant for FPS. Mike Gordon, LLC, and Balanced RX, LLC
(“Balanced Rx”), were Florida Limited Liability Companies that were owned
and controlled by GORDON.

TRICARE was a health care benefit program of the United States
Department of Defense (“DoD”), Military Health System, which provided
coverage for DoD beneficiaries worldwide, including active duty service
members, National Guard and Reserve members, retirees, their families, and
survivors. TRICARE is a “health care benefit program,” affecting interstate
commerce, as defined in 18 U.S.C. § 24.

Beginning in or about November 2012, and continuing through in or
about September 2015, in the Middle District of Florida and elsewhere,
WHITE knowingly and willfully conspired with MOSS, COPELAND,
GORDON and others to commit offenses against the United States, that is,
soliciting and receiving remuneration (kickbacks and bribes), in violation of
42 U.S.C. § 1320a-7b(b)(), and offering and paying remuneration (kickbacks

and bribes), in violation of 42 U.S.C.§ 1320a-7b(b)(2).

Defendant’s Initials 22

 

 
 

MOSS, WHITE, and others submitted false and fictitious claims to
TRICARE for expensive compounded prescription drugs, a practice known
as “test billing,” for the purpose of learning whether TRICARE would pay a
claim for those prescriptions and which ingredients in a compounded
prescription would result in the highest reimbursement to FPS from
TRICARE. After learning whether TRICARE would pay, they reversed or
withdrew the claim.

MOSS, WHITE, and others requested doctors to sign so-called
“Blanket Letters of Authorization” that purported to authorize FPS to alter
the ingredients of any compounded prescription without any additional
consultation with, or permission from, the doctor and without obtaining a
new prescription, for the purpose of ensuring reimbursement to FPS from
TRICARE and thus maximizing the profitability of FPS.

Over the course of the conspiracy, MOSS and others used FPS to submit
claims for payment to TRICARE for providing expensive prescription
compounded drugs to TRICARE beneficiaries living in approximately 30 states
and several foreign countries. Also, over the course of the conspiracy,
independent contractor sales and marketing representatives working with
WHITE and MOSS would fund expensive hunting trips and outdoor
adventures for doctors to induce them to procure and refer prescriptions for

expensive compounded drugs for their TRICARE patients to be filled by FPS.

Defendant’s Initials @” 23

 
 

Such inducements to the doctors constituted illegal kickbacks and bribes.

As part of the conspiracy, WHITE also solicited and received the
payment of kickbacks from others involved in the compound pharmacy
scheme. For example, on or about June 15, 2015, WHITE received a $4.9
million kickback payment in exchange for referring TRICARE beneficiaries to
FPS. Specifically, the payment was made to Mediverse’s Wells Fargo Bank
account ending in 1659, which WHITE controlled. In total, FPS paid WHITE
approximately $11,718,474 in kickbacks in exchange for referring TRICARE
beneficiaries to FPS. TRICARE paid FPS approximately $22 million for
compounded medications for the TRICARE beneficiaries that WHITE |
referred to FPS.
Il. Genetic Testing and Medicare Scheme

WHITE continued to use Mediverse and Helix to continue to conspire with
others to defraud the United States and pay and receive kickbacks through August
2019. WHITE also utilized Whitewater, LLC (“Whitewater”), a Florida Limited
Liability Company owned and controlled by WHITE, and White Medical, LLC
(“White Medical”), a Florida Limited Liability Company owned and controlled by
WHITE, as genetic testing consulting and marketing firms. WHITE and his co-
conspirators continued to defraud the United States by targeting Medicare, which is a
“health care benefit program” as defined in 18 U.S.C. § 24. WHITE utilized Helix,
Whitewater, and White Medical to refer Medicare beneficiaries for medically

unnecessary cancer genetic tests, also known as CGx tests. WHITE, through Helix

Defendant's Initials << 24

 
 

and Whitewater, along with other patient brokers, referred Medicare patients to
laboratories for medically unnecessary CGx tests, in exchange for unlawful kickbacks
and bribes. The laboratories included LabSolutions, Med Health Services,
Personalized Genetics, and Laboratory 1, all of which purported to provide laboratory
testing services to Medicare beneficiaries:

In some cases, WHITE concealed the kickbacks and bribes by entering into

sham contracts that falsely represented the laboratories, such as Personalized Genetics,

would pay WHITE for hourly marketing services, when in fact the payments were
kickbacks and bribes in exchange for patient referrals to the laboratories. In reality,
the illegal kickbacks were calculated based on a flat rate per patient that the
laboratories collected from insurance, including Medicare.

In the contract WHITE executed with LabSolutions, WHITE falsely
represented that LabSolutions would pay WHITE and his companies to “promote,
sell, recommend, and endorse” LabSolutions’s testing services to “physicians, clinics,
medical practices and other health care providers who required [testing services],” and
that when WHITE’s “efforts producef[d] a healthcare provider that use[d]”
LabSolutions’s testing services, LabSolutions would pay WHITE and his companies
45% of the monthly net revenue that LabSolutions received from insurance
reimbursements for tests referred by that healthcare provider.

In reality, WHITE and his co-conspirators operated call centers that ran
telemarketing campaigns designed to convince Medicare beneficiaries to agree to take

medically unnecessary CGx tests.. WHITE understood that the tests were specifically

Defendant’s Initials << _ 25
 

marketed and used as “preventive” or “screening” tests, rather than diagnostic tests
used to treat or diagnose a specific illness, symptom, complaint or injury of the
beneficiaries. WHITE and his co-conspirators then paid unlawful kickbacks and
bribes to telemedicine companies, including Lotus Health, LLC, which was owned by
Richard Garipoli, in exchange for doctors’ orders authorizing the genetic tests.
WHITE understood that the tests were ordered by doctors who were not going to use
the results in the management of the beneficiaries’ specific medical problems.

In total, beginning between approximately January 2017 and August 2019,
LabSolutions received approximately $19,699,934 from Medicare for CGx testing for
Medicare beneficiaries WHITE recruited and referred. Further, Personalized
Genetics, Med Health Services, and Laboratory 1 received approximately $12 million
from Medicare for CGx testing for Medicare beneficiaries WHITE recruited and
referred. In sum, WHITE caused the payment of approximately $31 million in false
and fraudulent claims for CGx test that were not medically necessary, were not used
to treat or diagnose a specific illness, symptom, complaint or injury of the beneficiaries,
not ordered by a doctor who used the results in the management of the beneficiaries’
specific medical problems, and that were procured through the payment of illegal
kickbacks and bribes. In exchange, LabSolutions paid WHITE or his companies
approximately $15,061,317, and Personalized Genetics, Med Health Services, and
Laboratory 1 paid WHITE or his companies approximately $6,541,921 through a
third-party company.

In total, WHITE received $33,321,712 in proceeds derived from kickbacks from

Defendant's Initials Ce 26

 
 

FPS, LabSolutions, Personalized Genetics, Med Health Services, and Laboratory.
The preceding statement is a summary, made for the purpose of providing the
Court with a factual basis for my guilty plea to the charges against me. It does not
include all of the facts known to me concerning criminal activity in which I and others
engaged. I make this statement knowingly and voluntarily and because I am in fact

guilty of the crimes charged.

12, Entire Agreement

This plea agreement constitutes the entire agreement between the government
and the defendant with respect to the aforementioned guilty plea and no other
promises, agreements, or representations exist or have been made to the defendant or

defendant’s attorney with regard to such guilty plea.

Defendant’s Initials_ <<“ 27

 
 

13. Certification
The defendant and defendant's counsel certify that this plea agreement
has been read in its entirety by (or has been read to) the defendant and that defendant
fully understands its terms.

DATED this_ /7™ day of September, 2021.

KARIN HOPPMANN

SS 64=*=E

EDWARD CHRISTOPHER
WHITE, JR.
Defendant

Aeon Mobic
JASQN MEHTA, Esquire
Attorney for Defendant

 

 

 

   

 

 
 

ZA

Trial Attorney
Criminal Division, Fraud Section, DOJ

Gh flO boc

LEE BENTLEY, Esquire JULIE HACKENBERRY
Attorney for Defendant Assistant United States Attorney

f, ‘f
TALBOT

Assistant United States Attorney
Chi cksonville Division

for

JOSBPH BEEMSTERBOER.
Acting Chief
Criminal Division, Fraud Section, DOJ

Defendant’s Initials ° e 28

 
 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA
Vv. CASE NO. 8:21-cr-

EDWARD CHRISTOPHER WHITE,
JR.

RS ON OF ELEMENTS
Count One

1. Did you and at least one other person agree to try to accomplish a shared and
unlawful plan to defraud the United States and pay and receive kickbacks?;

2. Did you know the unlawful purpose of the plan and willfully join in it?;

3. During the conspiracy, did you or your co-conspirators knowingly engage in
at least one overt act described in the Superseding Information?; and

4, Was the overt action knowingly committed at or about the time alleged in the
Superseding Information with the purpose of carrying out or accomplishing
some object of the conspiracy?

Count Two

1. Did you ask for or receive remuneration directly or indirectly, openly or
secretly, in cash or in kind?;

2. Was the payment you asked for or received in return for:

a, referring an individual to a person for the furnishing or arranging for the
furnishing of an item or service that could be paid for, in whole or in
part, by a Federal health care program or

b. Purchasing, leasing, ordering, or arranging for or recommending
purchasing, leasing, or ordering, any good, facility, service, or item that

Defendant’s Initials Coe"

 
 

could be paid for, in whole or in part, by a Federal health care
program?; and

3. Did you do so knowingly and willfully?

Defendant’s Initials 22 2

 
